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           IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK



JANE DOE and JOHN DOE,                           Civil Action No. 22-cv-3732


Plaintiffs,

   -against-

                                                 NOTICE OF VOLUNTARY
LOUIS LEONELLI, COMMUNITY                        DISMISSAL WITH
OF FRANCISCAN FRIARS OF THE                      PREJUDICE PURSUANT TO
RENEWAL, SAINT ADALBERT’S                        F.R.C.P. 41(a)(1)(A)(i)
CHURCH, SAINT ANTHONY
SHELTER FOR RENEWAL, SAINT
CRISPIN’S FRIARY, and
ARCHDIOCESE OF NEW YORK,

Defendants.



  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO
                      F.R.C.P. 41(a)(1)(A)(i)

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs JANE
DOE and JOHN DOE hereby gives notice that this action is voluntarily dismissed
with prejudice. See Fed. R. Civ. P. 41(a)(1)(B). .Defendants LOUIS LEONELLI,
COMMUNITY OF FRANCISCAN FRIARS OF THE RENEWAL, SAINT
ADALBERT’S CHURCH, SAINT ANTHONY SHELTER FOR RENEWAL,




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SAINT CRISPIN’S FRIARY, and ARCHDIOCESE OF NEW YORK have not served
an answer or motion for summary judgment in this action.


New York, New York
January 17, 2023



                            Respectfully submitted,




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